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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


DAVID KELLY,                                        )
                                                    )
               Plaintiff,                           )
                                                    )
v.                                                  )
                                                    )
TARGET CORPORATION,                                 )
dba Target and/or Target Stores, Inc.               )      CIVIL NO. 1:18cv1297 (TSE/IDD)
                                                    )      JURY TRIAL DEMANDED
               Defendant.                           )
                                                    )
serve: CT Corporation System                        )
       4701 Cox Road, Suite 285                     )
       Glen Allen, Virginia 23060                   )
                                                    )
                                                    )

                                          COMPLAINT

        COMES NOW Plaintiff David Kelly (“Plaintiff”), by and through counsel, and for his

Complaint against Target Corporation, dba Target and/or Target Stores, Inc. (“Defendant”), states as

follows:

                                  PRELIMINARY STATEMENT

     1. This is an action for monetary damages to redress Defendant's unlawful employment practices

        against Plaintiff, including Defendant’s unlawful discrimination and harassment against

        Plaintiff because of his gender, and retaliation against Plaintiff because of his protected

        actions, in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§

        2000e et seq. (“Title VII”).
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2. Over the course of several months, Defendant repeatedly subjected Plaintiff to unlawful

   discrimination and harassment because of his gender. The blatantly hostile work environment

   at Defendant included his direct supervisor Anthony Carrico’s frequent sexual comments, Mr.

   Carrico’s following female coworkers around the store with cameras and focusing and

   zooming in on body parts, which were done in Plaintiff’s presence, and Mr. Carrico’s attempts

   to enter the female bathroom. This verbal and physical conduct of a sexual nature created an

   intimidating, hostile, abusive and/or offensive work environment.

3. The atmosphere was one of pervasive discrimination and harassment. Plaintiff felt threatened,

   harassed, and demeaned by the discrimination. The hostile work environment interfered with

   Plaintiff’s work. The discrimination and harassment were unwelcome.

4. In or around November and December 2017, employees including Plaintiff complained to the

   Defendant about Mr. Carrico’s actions. In response, the Defendant told Mr. Carrico to be

   careful of the image he was portraying, but did nothing further.

5. In or around January 2018, after further complaints including complaints by Plaintiff,

   Defendant contacted Plaintiff and told Plaintiff to call in to the store on January 15, 2018,

   between 7:00 a.m. and 9:00 a.m., to discuss the sexual harassment with a supervisor, Jenee

   Naylor. Plaintiff called at the appointed time and spoke with Ms. Naylor. During this phone

   call, Plaintiff again reported the unlawful discrimination. Plaintiff also complained that

   Defendant had not dealt with earlier complaints of sexual harassment. Plaintiff told the

   Defendant that he felt that the executive level had failed because the sexual harassment had

   gone on for months and nothing was done about it.
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6. Because the sexual discrimination was caused by a supervisor, Defendant is vicariously liable

   for the sexual harassment. Defendant is also complicit because the harassment was reported

   to it at least as early as November or December 2017, and Defendant did nothing to stop the

   harassment.

7. Because he was sick, after the phone call Plaintiff told Defendant that he could not report to

   work and fell back asleep for hours.

8. Within hours, Plaintiff was falsely accused of calling in death threats against his supervisor.

   These threats were allegedly called in at some point the morning of January 15, 2018. Plaintiff

   denied having made the threats. The following day, on or around January 16, 2018, despite

   the fact that Plaintiff denied having made the threats, despite the fact that the threats were very

   similar to threats made by someone else in the recent past, and after a very shoddy

   investigation, Plaintiff was fired for alleged “gross misconduct” because of the threats. This

   was pretext and was actually retaliation for Plaintiff’s having reported sexual harassment in

   the workplace. Indeed, Defendant’s own investigation showed that Plaintiff could not have

   made the phone threatening phone call and that he did not make the threats.

9. Defendant's conduct was knowing, malicious, willful and wanton and/or showed a reckless

   disregard for Plaintiff, which has caused and continues to cause Plaintiff to suffer substantial

   economic and non-economic damages, permanent harm to his professional and personal

   reputation, and severe mental anguish and emotional distress.

                              JURISDICTION AND VENUE

10. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1343, as this

   action involves federal questions regarding the deprivation of Plaintiff's civil rights under Title
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   VII. The Court has supplemental jurisdiction over Plaintiff's related claims arising under state

   and local law pursuant to 28 U.S.C. § 1367(a).

11. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a substantial part of

   the events or omissions giving rise to this action, including the unlawful employment practices

   alleged herein, occurred in this district.

                                           PARTIES

12. Plaintiff is, and at all times material hereto was, a citizen of the Commonwealth of Virginia,

   residing in Chantilly, Virginia, and at all times material herein was an employee of Defendant,

   until he was fired in retaliation for his reporting sexual harassment in violation of Title VII.

13. Defendant is a Minnesota corporation whose headquarters is in Minneapolis, Minnesota.

   Defendant owns and operates more than 1,800 retail stores throughout the United States,

   including stores in Virginia.

                            PROCEDURAL REQUIREMENTS

14. Plaintiff has complied with all statutory prerequisites to filing this action.

15. On or about February 15, 2018, Plaintiff filed a Verified Charge of Discrimination (“Charge”)

   with the Equal Employment Opportunity Commission (“EEOC”), charging Defendant with

   unlawful discriminatory employment practices because of gender and unlawful retaliation in

   response to his protected activity.

16. On or about July 26, 2018, the EEOC issued a Dismissal and Notice of Rights, authorizing

   Plaintiff to pursue his claims of unlawful employment discrimination and retaliation in another

   judicial forum. Plaintiff received the right-to-sue letter on July 30, 2018.
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17. This action has been filed within ninety (90) days of receipt of the EEOC’s right-to-sue letter.

18. Any and all other prerequisites to the filing of this suit have been met.

                                FACTUAL ALLEGATIONS

19. Plaintiff is a hard-working 36 year old man who worked for Defendant from April 7, 2014,

   through his unlawful termination on or around January 16, 2018. He is a conscientious and

   reliable employee who at all times performed his duties in an exemplary manner and got along

   well with his colleagues and employers. Until he started working at Defendant, Plaintiff was

   in good health mentally, physically and emotionally.

20. Plaintiff began working at Defendant on or around April 7, 2014, as a Target Protection

   Specialist. In or around July 2015, he was promoted to the position of Asset Protection

   Specialist. His primary responsibilities included, but were not limited to, identifying and

   resolving instances of theft and fraud, apprehending shoplifters, and conducting internal theft

   investigations. As Asset Protection Specialist, Plaintiff directed a team of Target Protection

   Specialists. Up until the time of his unlawful termination, Plaintiff was a valued employee

   who was being groomed for a possible promotion and who received very good to exceptional

   performance reviews. Plaintiff worked for Defendant full-time until his termination on or

   around January 16, 2018, within one day after his protected activity reporting unlawful sexual

   harassment.

21. Starting on or around September 2017, Plaintiff was subjected to a repeated, continuous and

   prolonged discrimination and harassment on the basis of his gender. In or around January 16,

   2018, Plaintiff was terminated in retaliation for his protected actions reporting the

   discrimination and harassment.
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I.      DISCRIMINATION

     A. Plaintiff was Discriminated Against On the Basis of His Sex While Employed at
        Defendant.
22. Throughout his employment at Defendant, Plaintiff was singled out by his immediate

     supervisor Anthony Carrico, who is male, and who subjected him to a constant barrage of

     discrimination, harassment, and intimidation.

23. Mr. Carrico made unwelcome sexual comments to Plaintiff about some of the female

     coworkers in the store, including which coworkers he found most attractive.

24. Mr. Carrico made unwelcome sexual comments to Plaintiff about how the minor female

     employees, whom he referred to as “jail bait,” would look after they turned eighteen years old.

25. In front of Plaintiff, Mr. Carrico used the store cameras to follow some of the female

     coworkers around during their shift, zooming in on body parts, and discussing the employees

     in sexual terms.

26. All of these and other actions created an intimidating, hostile, humiliating, and offensive work

     environment which interfered with Plaintiff’s work.

27. The pervasive atmosphere at Defendant was one of discrimination and harassment on the basis

     of sex. The discriminatory and harassing actions and statements were repeated, continuous

     and prolonged.

28. No women were subjected to the same types of comments about women’s bodies, comparative

     attractiveness, and “jail bait.” Mr. Carrico did not use the store cameras to zoom in on

     employees’ bodies and make leering comments in the presence of women, only in the presence

     of men.
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29. These actions were hostile and humiliating.

   B. Plaintiff Was Subjected to Sexual Harassment and a Hostile Work Environment.

30. Mr. Carrico, Plaintiff’s male supervisor, constantly subjected Plaintiff to a work environment

   that was harassing and hostile because he was a male.

31. Mr. Carrico would, in Plaintiff’s presence, made sexual comments about female employees

   and customers.

32. Mr. Carrico would, in Plaintiff’s presence, use the video equipment to follow women around

   the store and zoom in on body parts.

33. Mr. Carrico would attempt to follow women into the women’s bathroom.

34. The pervasive atmosphere at Defendant was one of discrimination on the basis of gender.

   Unwanted sexual commentary and actions were common. These comments and actions were

   hostile and threatening.

II. HOSTILE ATMOSPHERE

35. The atmosphere at Defendant was permeated with discriminatory intimidation, ridicule and

   insult, that was sufficiently pervasive to alter the conditions of Plaintiff’s employment and

   create an abusive working environment.

36. The environment at Defendant was physically threatening, humiliating and abusive such that

   no employee should have to subject themselves.

37. Plaintiff was subjected to sexual commentary, exposed to sexually demeaning actions, and

   subject to persistent derogatory remarks.
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III. TERMINATION

38. Plaintiff was terminated in retaliation for his protected actions reporting the sexual harassment

   and discrimination.

39. The harassment and discrimination culminated in Plaintiff reporting the sexual harassment to

   Defendant. Within one day of reporting the sexual harassment, Plaintiff was terminated from

   employment in retaliation for his protected activities.

                            COUNT I
     DISCRIMINATION AND HARASSMENT IN VIOLATION OF TITLE VII
                     (GENDER DISCRIMINATION)
40. Plaintiff hereby repeats and realleges each and every allegation in paragraphs 1 through 39,

   inclusive, as if fully set forth herein.

41. Plaintiff is a hard-working 36 year-old man who is a conscientious and reliable employee who

   at all times performed his duties in an exemplary manner and got along well with his

   colleagues and employers. Until he started working at Defendant, Plaintiff was in good health

   mentally, physically and emotionally.

42. Mr. Carrico singled out Plaintiff and subjected him to a constant bombardment of

   discrimination, harassment, threats and intimidation because of his gender.

43. Mr. Carrico constantly subjected Plaintiff to a work environment that was harassing and

   hostile because he was a male.

44. Mr. Carrico barraged Plaintiff with sexually harassing and discriminatory comments about

   women. It was unwanted and unwelcome, and made him feel unsafe, uncomfortable,

   demeaned and harassed.
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45. Mr. Carrico would make sexual comments to Plaintiff about the bodies of other coworkers,

   including coworkers who were minors. The comments were belittling and harassed Plaintiff.

46. In front of Plaintiff, Mr. Carrico would use video equipment to follow female employees

   around the store and zoom on to their bodies while making sexual comments. These actions

   were unwanted and unwelcome, and created a hostile work environment.

47. Mr. Carrico would make sexual comments about the relative attractiveness of different female

   coworkers.

48. Plaintiff was so distraught and upset by Mr. Carrico’s actions that he began trying to avoid

   Mr. Carrico, who was his direct supervisor. The harassment unreasonably interfered with

   Plaintiff’s work and changed the terms and conditions of his employment by creating an

   intimidating, hostile, humiliating, and sexually offensive work environment.

49. Employees reported Mr. Carrico’s sexual harassment to supervisors, and in response

   Defendant did nothing other than to urge him to be mindful of his behavior.

50. Defendant has discriminated against Plaintiff on the basis of his gender (male) in violation of

   Title VII by denying him the same terms and conditions of employment available to

   employees who are not male, including, but not limited to, subjecting him to disparate working

   conditions and denying him the opportunity to work in an employment setting free of unlawful

   harassment.

51. Defendant has discriminated against Plaintiff on the basis of his gender (male) in violation of

   Title VII by creating, fostering, accepting, ratifying and/or otherwise failing to prevent or to

   remedy a hostile work environment that included, among other things, severe and pervasive

   harassment of Plaintiff because of his gender.
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  52. The discrimination and harassment was so severe that it changed the terms and conditions of

     Plaintiff’s employment. The harassment was sufficiently severe and/or pervasive to alter the

     conditions of Plaintiff’s employment and create an abusive working environment.

  53. As a direct and proximate result of Defendant's unlawful and discriminatory conduct in

     violation of Title VII, Plaintiff has suffered severe mental anguish and emotional distress,

     including but not limited to depression, humiliation, embarrassment, stress and anxiety, loss

     of self-esteem and self-confidence, emotional pain and suffering, as well as physical injury,

     for which he is entitled to an award of monetary damages and other relief.

  54. Defendant's unlawful and discriminatory conduct in violation of Title VII was outrageous and

     malicious, was intended to injure Plaintiff, and was done with conscious disregard of

     Plaintiff's civil rights, entitling Plaintiff to an award of punitive damages.

                                    COUNT II
                        RETALIATION VIOLATION OF TITLE VII

  55. Plaintiff hereby repeats and realleges each and every allegation in paragraphs 1 through 54,

     inclusive, as if fully set forth herein.

  56. Plaintiff reported the unlawful harassment to supervisors in December 2017. Nothing was

     done to remedy the harassment at that time.

  57. After further complaints, Plaintiff was told to call the store on or around January 15, 2018,

     between 7:00 a.m. and 9:00 a.m. Plaintiff called at the appointed time. He spoke with Ms.

     Naylor from 8:17 a.m. until 8:28 a.m. about Mr. Carrico’s misconduct.

  58. In this phone call, Plaintiff reported that Mr. Carrico sexually harassed him through his

     actions.
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   59. In this phone call, Plaintiff complained that Defendant failed to address complaints of sexual

       harassment over a period of months. Plaintiff told team leader Jenee Naylor that he felt like

       the executive level had failed because Mr. Carrico harassed women for months and nothing

       was done about it.

   60. Within a day, Plaintiff was fired from the job he had held for nearly four years in retaliation

       for his reporting the sexual harassment and complaining about Defendant’s response to sexual

       harassment complaints.

                                      PRAYER FOR RELIEF

   WHEREFORE, Plaintiff prays that the Court enter judgment in his favor and against Defendant,

containing the following relief:

   A. An award of damages in an amount to be determined at trial, plus prejudgment interest, to

compensate Plaintiff for all monetary and/or economic harm;

   B. An award of damages in an amount to be determined at trial, plus prejudgment interest, to

compensate Plaintiff for harm to his professional and personal reputations and loss of career

fulfillment;

   C. An award of damages in an amount to be determined at trial, plus prejudgment interest, to

compensate Plaintiff for all non-monetary and/or compensatory harm, including but not limited to,

compensation for his mental anguish, humiliation, embarrassment, stress and anxiety, emotional pain

and suffering, emotional distress and physical injuries;

   D. An award of damages for any and all other monetary and/or non-monetary losses suffered by

Plaintiff in an amount to be determined at trial, plus prejudgment interest;
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